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                           EXHIBIT 17
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 From: Jonathan Slonin REDACTED >
 Sent: Monday, Apri l 12, 2021 5:53 AM
 To: Jonathan Slonin <Jonathan.Slon in@pacira .com>
 Subject: Fwd: Monday Morning Outreach


 [EXTERNAL EMAIL]


 Sent from my iPad

 Begin forwarded message:

 From: ASA - American Society of Anesthesiologists <info@mail.asahg.org>
 Date: April 12, 2021 at 5:10:39 AM EDT
 To: REDACTED
 Subject: Monday Morning Outreach
 Reply-To: ASA - American Society of Anesthesiologists <info@asahg .org>




             American Society of
             Anesthesiologists·



                            Monday Morning Outreach



    April 12, 2021

    Welcome to Monday Morn ing!
    I appreciate those of you who contacted me and other ASA officers regarding
    social media coverage of changes in anesthesia practice models at the Watertown
    (Wisconsin) Regional Medical Center. As we stated in Wednesday's
    "Anesthesiology Today" eblast, those reports are misleading at best. We were
    particularly unhappy with their statement that "the literature is clear that care
    quality and outcomes are just as good with CRNAs." That is false. The
    independent literature clearly shows that physician involvement in anesthesia care
    provides better outcomes. Fortunately, faci lities such as th is remai n rare and we
    intend to work to keep it that way. Any step away from anesthesiologist-delivered
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   and anesthesiologist-led team-based anesthesia care is a step in the wrong
   direction for our patients. ASA will continue to direct our resources toward
   ensuring that policymakers at both the state and federal level support the safety of
   their constituents by supporting anesthesiologist-delivered and led anesthesia
   care models.


   LEGISLATIVE CONFERENCE 2021
   Registration is now open for our May 16 virtual Federal LEGISLATIVE
   CONFERENCE. If you’ve been following the ASA advocacy updates in this space
   over the last few weeks, you know that a number of serious challenges face our
   specialty today. It is imperative that every ASA member become educated about
   the facts of these issues and be involved in our critical advocacy efforts. The ASA
   LEGISLATIVE CONFERENCE is one of the best ways to do that.
   The agenda is dynamic and can change right up until start time, but as with all our
   conferences, you can expect to:
       • Familiarize yourself with our legislative and grassroots agendas for the year
       • Connect with ASA leaders on the top issues we face
       • Learn how best to have your voice heard
       • Connect with your elected officials
   In 2020, we had a memorable conference with a record-breaking 1,450
   registrants. Let’s all get involved and beat that number this year!



             REGISTER FOR LEGISLATIVE CONFERENCE 2021 →




   State of the Components Survey
   You’ve heard it a million times – “all politics is local.” It’s surely true for the
   activities of ASA’s component societies. We just got data back from our 2020
   “State of the Components Survey,” which ASA is using to help develop component
   support initiatives in 2021. According to those polled, here were the top three
   benefits of state component membership:
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      1. Advocacy (state and federal)
      2. Continuing medical education/annual meeting
      3. Networking/camaraderie
   Other benefits named were leadership opportunities and resource sharing. These
   needs at the component level generally mirror and are complementary to those at
   the national level. But it’s important to note that your state component is often your
   most effective resource for accessing these benefits, particularly in advocacy.
   State components are doing the important grassroots work for issues like scope of
   practice, truth in advertising, surprise medical bill legislation/regulation, and
   Medicaid reimbursement.
   Your component is your pipeline to engagement in ASA. I urge you to seek out
   volunteer opportunities there. One added benefit: component work experience is a
   major factor in selecting members for national committee appointments.
   Ultimately, we are a stronger national society with strong local engagement.


   Journal Highlight: Study on Methadone and Ketamine in
   Spinal Surgery
   I want to highlight a very interesting study from the March issue of Anesthesiology
   titled Perioperative Methadone and Ketamine for Postoperative Pain Control in
   Spinal Surgical Patients. In it, Murphy et al. report on a clinical trial comparing the
   combination of methadone plus ketamine to methadone alone in 130 patients
   undergoing elective spine surgery. They found that adding ketamine to methadone
   reduced pain scores from 4 to 2 points on an 11-point Likert scale and halved
   postoperative opioid use (11 vs. 20 tablets). Pain scores at rest, with coughing,
   and with movement were one-third lower (3 to 4 vs. 5 to 6) in the
   methadone/ketamine group at nearly every assessment time over 72 hours.
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   In an editorial, Editor-in-Chief Evan Kharasch and Editor J. David Clark noted that
   ketamine seems to have “boosted” the effects of methadone in a manner similar to
   the “boosting” of antiretrovirals by co-administering low doses of ritonavir – a
   protease inhibitor with only modest effects when used alone. Also noteworthy is
   that this study was meticulously conducted and reported at a private hospital,
   which hopefully sends the message that high-quality research is not exclusive to
   academic institutions.
   Be sure to check out the accompanying podcast for a deeper dive into the data
   and their significance.


   WLM Launches New Website

   You have to check out the Wood Library-Museum’s new website. It’s been
   completely re-designed, and the result is one of the most attractive and unique
   websites in our specialty. The WLM’s new Director, Matthew Toland, made this
   redesign one of his top priorities, in order to make their growing collection as
   accessible as possible to everyone.
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   My guess is that the average ASA member isn't aware of even a fraction of the
   resources and historical materials housed by the W LM. The new site offers an
   intuitive and thoroughly enjoyable way to explore it all. The library's collection is
   always growing and the site is updated often - so check in reg ularly to see what
   gems have been added to this amazing resource .



   Finally, as the holy month of Ramadan begins th is evening, I want to wish our
   Muslim colleag ues a blessed and happy Ramadan. Ramadan Mubarak!



   As always, please keep your comments com ing directly to me at
   president@asahg .erg.



                                CONNECT WITH ASA



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